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                                     UNITED STATES DISTRICT COURT
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                                   NORTHERN DISTRICT OF CALIFORNIA
10
                                             OAKLAND DIVISION
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     AMERICAN CIVIL LIBERTIES UNION OF )                 No. 4:21-cv-02632-DMR
12   NORTHERN CALIFORNIA, et al.,      )
                                       )                 DECLARATION OF ICE DEPUTY FOIA
13          Plaintiffs,                )                 OFFICER LYNNEA SCHURKAMP REGARDING
                                       )                 ICE’S PROCESS FOR MARKING DUPLICATES
14      v.                             )
                                       )
15   U.S. IMMIGRATION AND CUSTOMS      )
     ENFORCEMENT, et al.,              )
16                                     )
                                       )
            Defendants.                )
17

18          I, Lynnea Schurkamp, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

19          I.       INTRODUCTION

20          1.       I am the Deputy FOIA Officer of the Freedom of Information Act Office (the “ICE FOIA

21 Office”) at U.S. Immigration and Customs Enforcement (“ICE”). The ICE FOIA Office is responsible

22 for processing and responding to all Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, and Privacy

23 Act, 5 U.S.C. § 552a, requests received at ICE. I have held this position since August 1, 2021. I am the

24 ICE official responsible for supervising ICE responses to requests for records in litigation as well as

25 incoming FOIA requests to ICE under the FOIA, 5 U.S.C. § 552, the Privacy Act, 5 U.S.C. § 552a (the

26 “Privacy Act”) and other applicable records access statutes and regulations. Prior to this position, I was

27 the Assistant Disclosure Officer of the ICE FOIA Office from July 21, 2019 to July 31, 2021. Prior to

28 that I was the FOIA Program Manager/Litigation Coordinator for the National Organic Program in the

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 1 Agricultural Marketing Service, U.S. Department of Agriculture (“USDA”) for one year.

 2          2.       My official duties and responsibilities include the oversight and supervision of the ICE

 3 FOIA Litigation and Intake Teams. The Intake Team is responsible for acknowledging the receipt of all

 4 FOIA and Privacy Act requests at ICE (5 U.S.C. § 552 and 5 U.S.C. § 552a). This team also conducts

 5 searches for responsive records. The Litigation Team is responsible for picking up the case when a

 6 complaint is filed and seeing it through to completion. Depending on what is alleged in the complaint,

 7 the Litigation Team will conduct a search, gather responsive records, go through the records for

 8 responsiveness, process productions, and release records with applicable withholdings to the plaintiff or

 9 plaintiff’s counsel. I manage and supervise the supervisors of the Intake and Litigation Teams. These

10 teams are comprised of FOIA Assistants and Paralegal Specialists. Due to my experience and the nature

11 of my official duties, I am familiar with ICE's procedures for responding to requests for information

12 pursuant to provisions of the FOIA and the Privacy Act.

13          3.       I submit this declaration in response to this Court’s Amended Civil Conference Minute

14 Order, dated October 20, 2021. ECF No. 33.

15          4.       I make this declaration in my official capacity based on my personal knowledge, my

16 review of records kept by ICE in the ordinary course of business, and information provided to me by

17 other ICE employees in the course of my official duties.

18          II.      CURRENT PROCESS FOR MARKING RECORDS AS DUPLICATES

19          5.       Currently, one ICE FOIA Paralegal Specialist (“Processor”) is assigned to process and

20 review the records in this case. The ICE FOIA Office uses FOIAXpress, a FOIA processing software

21 for reviewing and processing records. The Processor will conduct their review (“First Line Review”),

22 and upon completing the First Line Review, the records are reviewed by the agency attorney assigned to

23 represent the agency in this instant FOIA litigation. Once counsel has completed his review (“Second

24 Line Review”), the Deputy FOIA Officer will conduct a third line review of the records (“Final

25 Review”). Only then will the records be pulled from FOIAxpress to be produced.

26          6.       When conducting the First Line Review, the Processor will compare, side-by-side,

27 records the Processor believes to be duplicates. A duplicate record in this case is a record that is

28 identical to another record within the same batch of records the Processor is reviewing.

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 1          7.       For this case, the Processor will only be marking pages as duplicates that are identical to

 2 pages in the current batch of records that the Processor is reviewing. Once a record is determined to be

 3 identical, the Processor will flag that record in FOIAxpress as a duplicate. These duplicated pages are

 4 then reviewed during the Second Line Review and the Final Review using the same approach as the

 5 Processor, i.e., comparing, side-by-side, the records believed to be duplicates. If the records are

 6 determined not to be a duplicate at any time during this process, the duplicate flag will be removed, and

 7 the pages will be processed and produced.

 8          III.     PROCESSING OF THE NOVEMBER PRODUCTION

 9          8.       ICE has followed the procedures identified above with respect to the records that were

10 processed in connection with ICE’s production on November 15, 2021. In addition, only true

11 duplicates, as defined above, were identified and marked with respect to the previous productions ICE

12 has made in this case. Based upon my personal knowledge and the information being provided to me by

13 those that I supervise, and upon reasonable investigation, I certify that only true duplicates were

14 withheld from ICE’s production on November 15, 2021 and its previous productions in this case.

15          IV.      JURAT CLAUSE

16          I declare under penalty of perjury under the laws of the United States of America that the

17 forgoing is true and correct. Signed this 16th day of November, 2021.

18
19                                 LYNNEA A       Digitally signed by LYNNEA
                                                  A SCHURKAMP

20                                 SCHURKAMP Date:      2021.11.16 13:33:19
     ____________________________________________________________________________________
                                                  -05'00'
                                            Lynnea Schurkamp, Deputy FOIA Officer
21                                          Freedom of Information Act Office
                                            U.S. Department of Homeland Security
22                                          U.S. Immigration and Customs Enforcement
                                            500 12th Street, S.W., Stop 5009
23                                          Washington, DC 20536-5009

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